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                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF ILLINOIS

 JANIAH MONROE,
 MARILYN MELENDEZ,
 LYDIA HELÉNA VISION,
 SORA KUYKENDALL, and
 SASHA REED, individually and on
 behalf of a class of similarly situated
 individuals,

                 Plaintiffs,

 v.                                                 Case No. 3:18-CV-00156-NJR

 STEVE MEEKS,
 MELVIN HINTON, and
 ROB JEFFREYS,

                 Defendants.

                  CORRECTION to PRELIMINARY INJUNCTION

ROSENSTENGEL, Chief Judge:

         The Court has been advised of a typographical error in Paragraph 2 of the

Preliminary Injunction issued August 9, 2021 (Doc. 332). Specifically, the correct

testosterone level set forth by the Endocrine Society Hormone Guidelines for transgender

females     is     for   testosterone   of   less   than   50   nanograms/deciliter,   not   15

nanograms/deciliter as erroneously stated in the Preliminary Injunction.

         Accordingly, Paragraph 2 of the Preliminary Injunction (Doc. 332) is corrected as

follows:

      2. Each member of the Plaintiff class who is currently receiving hormone
         therapy shall, within 14 days of the date of this Order [August 9, 2021], be
         given blood tests to assess hormone levels, as well as potassium, creatinine,
         and prolactin levels (for transgender females) and hemoglobin/hematocrit
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      levels (for transgender males). Thereafter, if the hormone levels are not
      within the appropriate range set forth by the Endocrine Society Hormone
      Guidelines (for transgender females, testosterone of less than 50
      nanograms/deciliter and estradiol between 100-200 picograms/milliliter;
      for transgender males, testosterone levels between 400-600
      nanograms/deciliter), Defendants shall ensure that the individual’s
      hormone medication is titrated following receipt of the bloodwork results
      and bloodwork repeated at least every 3 months until the levels are within
      an appropriate range.

      All other portions of the Preliminary Injunction (Doc. 332) remain in force, as

does the previous Preliminary Injunction (Doc. 212).

      IT IS SO ORDERED.

      DATED: August 18, 2021


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                                               NANCY J. ROSENSTENGEL
                                               Chief U.S. District Judge
